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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                CRIMINAL ACTION NO. 4:05CR83-P-B


TAVARES MARTIN aka “T-Dog”
and MELVIN DUNCAN


                                             ORDER

       This cause is before the Court on defendant Duncan’s Motion for Continuance of September

26, 2005 Trial Setting [24]. The Court, having reviewed the motion and being otherwise fully

advised in the premises, finds as follows, to-wit:

       The trial of this matter is currently set for September 26, 2005. Counsel for defendant seeks

a continuance in order to complete additional investigation and to consult more fully with his client

regarding the possibility of a plea agreement and a possible 5K1 motion by the government. The

government does not object to the requested continuance. Based on the foregoing, the Court finds

that the defendants’ motions are well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from September 26, 2005 until the new trial date to be set in this matter. The

time is excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendant additional time to investigate and prepare his defense

to the charges at issue. Therefore, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial.
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 IT IS, THEREFORE, ORDERED AND ADJUDGED that

 1.    The defendant’s Motion for Continuance [24] is GRANTED;

 2.    That the trial of this matter is continued as to all defendants until Monday, October

       31, 2005 at 9:00 a.m. in the United States District Courthouse in Greenville,

       Mississippi;

 3.    That the delay from September 26, 2005 until October 31, 2005 is excluded as set out

       above;

 4.    That the deadline for filing pretrial motions is October 10, 2005;

 5.    That the deadline for submitting a plea agreement is October 17, 2005.

 SO ORDERED, this the 19th day of September, 2005.


                                             /s/ W. Allen Pepper, Jr.
                                             W. ALLEN PEPPER, JR.
                                             UNITED STATES DISTRICT JUDGE
